Case 0:21-cv-60825-RAR Document 63 Entered on FLSD Docket 07/15/2022 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                    Case No. 0:21-cv-60825-RAR


   UNITED STATES OF AMERICA,

               Plaintiff,

               v.

   ROGER J. STONE, et al.;

               Defendants.



                    JOINT MOTION FOR ENTRY OF CONSENT JUDGMENT

          The United States of America and Roger Stone, Nydia Stone (individually and as trustee

  for the Bertran Family Revocable Trust), Drake Ventures LLC, and the Bertran Family

  Revocable Trust (collectively, the “Stone Defendants”), jointly move the Court for entry of the

  attached consent judgment, which resolves all of the United States’ claims against the Stone

  Defendants except those described below.

          Subject to the agreement of the Court and entry of the attached consent judgement, the

  United States requests that the Court dismiss, without prejudice under FED. R. CIV. P. 41(a)(2),

  the United States’ claims against Drake Ventures, and also Counts III (Alter Ego Liability), IV

  (Fraudulent Transfer), and V (Nominee Liability).

          Counsel for the United States has conferred with counsel for all parties who have appeared

  in this action, and no party opposes the relief requested in this motion.


  Date: July 15, 2022
Case 0:21-cv-60825-RAR Document 63 Entered on FLSD Docket 07/15/2022 Page 2 of 2




                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 15, 2022, I electronically filed the foregoing document with
  the Clerk of the Court by using the CM/ECF system.


                                               /s/ Christopher J. Coulson
                                               Trial Attorney
                                               United States Department of Justice, Tax Division
